
The Supreme Court affirmed the judgment of the Common Pleas on March 30, 1885 in the following opinion:
Per Curiam.
While a judgment creditor has no estate in the land of his debtor, yet he has a claim upon it which may be injured. That the defendant in error had a lien on the property in question is undisputed. It is clear that he was injured by the removal of the house from the land on which he had the lien. With knowledge of this lien, which he knew had also attached to the-house, the plaintiff in error removed it. This was a fraud on the lien creditors injured thereby; Witmer’s Appeal, 9 Wright. 455 ; Weed vs. Hall, 5 Out. 592; Yeates vs. Joyce, 11 Johns 136. As the defendant in error is the person injured he may sustain an action in his own name, without seeking to unite with him any others who may have been injured. It is sufficient that he was defrauded and injured by the intentional wrong of the plaintiff in error. We see no error in the admission or rejection of evidence.
Judgment affirmed.
